 

Case 19-11299-LSS Doc176 Filed 07/22/19 Page 1of 16

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re SportCo Holdings, Inc. Case No. 19-11299 (LSS)
Debtor Reporting Period: June 10 - June 30, 2019

MONTHLY OPERATING REPORT *

 

Explanation Affidavit/Supplement

 

 

 

 

 

 

 

 

 

 

 

 

 

Required Documents Form No. Document Attached Attached Attached
Schedule of Cash Receipts and Disbursements MOR-1 v
Bank Reconciliation (or copies of debtor's bank reconciliations) _|MOR-la v
Schedule of Professional Fees Paid MOR-1b v
Copies of bank statements
Cash disbursements journals
Statement of Operations MOR-2 v
Balance Sheet MOR-3 v
Status of Postpetition Taxes MOR-4 v
Copies of IRS Form 6123 or payment receipt
Copies of tax returns filed during reporting period
Summary of Unpaid Postpetition Debts MOR-4 v
Accounts Receivable Reconciliation and Aging MOR-5 v
Debtor Questionnaire MOR-5 v

 

 

 

 

 

 

 

I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents are true and correct to the best of my knowledge
and belief.

 

 

 

 

 

 

 

 

Signature of Debtor Date
ey of Joint Debtor Date
9? f-
Ae t- ef _- July 22, 2019
Signature of Authorized Individual Date
Dalton Edgecomb Chief Restructuring Officer
Printed Name of Authorized Individual Title of Authorized Individual

* The information contained herein is provided as required by the Office of the United States Trustee. This Monthly Operating Report has been prepared based on
information available to the Debtor as of the ending date in the reporting period shown above, and such information may be incomplete in certain respects. All information
contained herein is unaudited and subject to future adjustments, which could be material. Nothing contained in this Monthly Operating Report shall constitute a waiver of
any of the Debtor's rights or an admission with respect to its Chapter 11 proceedings. ‘The Debtor reserves all rights to amend, modify or supplement this Monthly
Operating Report.
Case 19-11299-LSS Doc176 Filed 07/22/19 Page 2 of 16

 

In re SportCo Holdings, Inc. Case No. 19-11299 (LSS)
Debtor Reporting Period: June 10 - June 30, 2019
MOR-1
SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS *

BANK ACCOUNTS CURRENT PERIOD FILING TO DATE
OPER PAYROLL TAX OTHER OTHER OHER ACTUAL PROJECTED ACTUAL PROJECTED

ACCOUNT NUMBERS ENDING IN

 

 

 

 

 

 

 

 

CASH - BEGINNING OF MONTH -

 

 

   

 

 

 

NET CASH FLOW | £632,496 | 4,815,000)| 7 [ @| = | = l 182,504] = | -as2509)| = |
CASH - END OF MONTH | $__1,632,496 | $ (4,815,000) $ i | $ ol $ = | $ = | $ 182,504] $ = Ils 482,504) $ z=

 

 

1. The accounting systems are not primarily designed to produce reports that are consistent with the requirements of the Office of the United States Trustee. The numbers presented in the cash flow are subject to change as additional information is
made available. The information contained herein is provided to fulfill the requirements of the Office of the United States Trustee. All information contained herein is unaudited and subject to future adjustments.
Case 19-11299-LSS Doc176 Filed 07/22/19 Page 3 of 16

In re SportCo Holdings, Inc.
Debtor

MOR-1a
BANK ACCOUNTS '

Case No. 19-11299 (LSS)
Reporting Period: June 10 - June 30, 2019

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Period-end Reconciling
Bank name Account type Account number bank balance Items GL Balance
Regions Payroll 0240423409 1,008,318.37 20,775.22] 1,029,093.59
Bank of America __ [Operating Account - Ellett 000080231342 174,768.78] -174,768.78 0.00
Bank of America Collection Account - Ellett 009429226652 376,307.78] -20,000.00] 356,307.78]
Bank of America Concentration Account -Ellett 009429226759 56,578.50 0.00 ___ 56,578.50
Wells Fargo Office Checking Account - Ellett 2076700001962 210,870.40 0.00] 210,870.40
Bank of America Operating Account- Evans —_ 000080231350 37,202.66} -37,202.66 0.00
Wells Fargo 7 |Office Checking Account - Evans 2010000028973 297.76 ~ 0.00 297.76
Bank of America Operating Account - JSC 002210002980 11,007.18} ———_—-10,936.83 70.35
Bank of America Concentration Account-JSC 383007324257 9,234.02] 0.00 9,234.02
Bank of America Restrucited Account - JSC 383006757948 39,033.88 0.00 39,033.88
Wells Fargo Restricted Account - JSC 2000037878724 - 4,545.18] 0.00 4,545.18
Wells Fargo Office Checking Account - JSC 2000037878708 6,254.81 0.00 6,254.81
Other Reconciling Items _ : 0.00 12,355.69 12,355.69
[TOTAL BANK BALANCE 1,934,419.32| _-209,777.36| __1,724,641.96|

 

1. An attestation regarding the Debtor's bank statements and bank-account reconciliations follows this schedule.
Case 19-11299-LSS Doc176 Filed 07/22/19 Page 4 of 16

In re SportCo Holdings, Inc. Case No. 19-11299 (LSS)
Debtor Reporting Period: June 10 - June 30, 2019

MOR-1a
ATTESTATION REGARDING BANK ACCOUNTS

The above-captioned Debtor hereby submits this attestation regarding disbursement journals and bank-account reconciliations in
lieu of providing copies of bank statements and account reconciliations.

I attest that each of the bank accounts listed in the preceding schedule is reconciled to monthly bank statements. The Debtor's
standard practice is to ensute that each bank account is reconciled to monthly bank statements for each calendar month within 20
days after month end.

(>

wjA tA A July 22, 2019

Signature of Authorized Individual Date

 

 

Dalton Edgecomb Chief Restructuring Officer
Printed Name of Authorized Individual Title of Authorized Individual

 
In re SportCo Holdings, Inc.
Debtor

Case 19-11299-LSS Doc176 Filed 07/22/19 Page 5of16

SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID

MOR-Ib

Case No. 19-11299 (LSS)

Reporting Period: June 10 - June 30, 2019

‘This schedule is to include all retained professional payments from case inception to current month.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount Check Period amount paid Case-to-date amount paid

Payee Period covered approved Payor #/EFT Date paid Fees Expenses Fees Expenses
Winter Harbor LLC a SportCo Holdings, Inc. | EFT - -
Winter Harbor LLC - SportCo Holdings, Inc. | EFT - -
Winter Harbor LLC - SportCo Holdings, Inc. | EFT = -
Winter Harbor LLC - SportCo Holdings, Inc. | EFT - -
Winter Harbor LLC - SportCo Holdings, Inc. | EFT = -
McDermmot Will & Emery LLP | | - | SportCo Holdings, Inc. | EFT — | | - | « | = | - |
Polsinelli | | - | SportCo Holdings, Inc. | EFT | | - - | - | - |
Debtor's Tax Accountants | | - SportCo Holdings, Inc. | EFT | | - | # | es | - |
BMC Group | | - SportCo Holdings, Inc. | EFT | | - 4 | - | - |
Emerald Capital Advisors | | - | SportCo Holdings, Inc. | EFT | | - | - | * | = |
Lowenstein Sandler LLP | | - | SportCo Holdings, Inc. | EFT | | - | - | - | - |
Blank Rome LLP | | - | SportCo Holdings, Inc. | EFT | | - | - | - | . |
Olshan Frome Wolosky | - SportCo Holdings, Inc. | EFT | - 2 2 | =
Professional Role Notes
Winter Harbor LLC Debtor's Chief Restructuring Officer and additional personnel

McDermott Will & Emery LLP
Polsinelli

Debtor's Tax Accountants
BMC Group

Emerald Capital Advisors
Lowenstein Sandler LLP

Blank Rome LLP

Olshan Frome Wolosky

Debtor's counsel, lead

Debtor's counsel, local

Debtor's tax accountants

Debtor's noticing, claims and balloting agent

Financial Advisor to the Official Committee of Unsecured Creditors
Counsel to the Official Committee of Unsecured Creditors

DIP Lender's counsel, lead and local

DIP Lender's counsel, lead and local

 
Case 19-11299-LSS Doc176 Filed 07/22/19 Page 6 of 16

 

 

 

 

 

 

 

 

 

 

 

In re SportCo Holdings, Inc. Case No. 19-11299 (LSS)
Debtor Reporting Period: June 10 - June 30, 2019
MOR-2
STATEMENT OF OPERATIONS (UNAUDITED)

| Line item Current period Filing to date
Sales
Gross Merchandise Sales 25,289,532 25,289,532
Sales Return & Allowance (91,491) (91,491)
Net Discounts 7,604 7,604
Net Sales 25,205,645 25,205,645
Cost of Goods Sold
Cost of Product Sold 29,501,338 29,501,338
Purchase Discounts (434,909) (434,909)
Freight In 40,000 40,000
Rebates - -
Discounts Anticipation - -
Reserve changes/Other costs (1,479,013) (1,479,013)
Total Cost of Goods Sold 27,627,417 27,627,417
Net Gross Margin (2,421,772) (2,421,772)
Operating Expenses
Total Variable Expense ° 1,308,290 1,308,290
Total Fixed Expense ° 1,824,359 1,824,359
Total Operating Expenses 3,132,649 3,132,649
Operating Income (5,554,422) (5,554,422)
Non-Operating Expenses
Other Income/Expense 10,278 10,278
Interest Income (66,719) (66,719)
Tnterest Expense 3,313,639 3,313,639
Income Tax Expense - -
Total Non-Operating Expenses 3,257,198 3,257,198
NET INCOME (8,811,620) (8,811,620)

 

1. The accounting systems are not primarily designed to produce reports that are consistent with the requirements of the Office of the United
States Trustee. The information contained herein is provided to fulfill the requirements of the Office of the United States Trustee. All information
contained herein is unaudited and subject to future adjustments.

2. Detail on MOR-2 Statement of Ops Cont

3. Detail on MOR-2 Statement of Ops Cont
Case 19-11299-LSS Doc176 Filed 07/22/19 Page 7 of 16

In re SportCo Holdings, Inc.
Debtor

Case No. 19-11299 (LSS)

Reporting Period: June 10 - June 30, 2019

MOR-2 CONTINUATION SHEET

STATEMENT OF OPERATIONS (UNAUDITED) ‘

 

 

 

 

| Line item Current period Filing to date |

Total Variable Expense ”
Bad Debt Expense 25,139 25,139
Spiff - -
Sales Bonus & Commissions 999,369 999,369
Royalty Expense 105 105
Tools & Distribution Supplies 17,848 17,848
Shipping Charges (99,325) (99,325)
Small Order Charges - -
‘Track Depreciation - -
Freight Out 365,154 365,154

Total Variable Expenses 1,308,290 1,308,290

Total Fixed Expense 2
Audit Fees ~ -
Web Site Exp 11,161 11,161
Associations & Subscriptions 1,829 1,829
Catalog Flyers & Advertising 75 75
Directors Expenses - -
Stock Related Costs - -
Consulting Fees 75,449 75,449
Collection Expense (1,890) (1,890)
Contributions - 2
Depreciation and Amortization 404,407 404,407
401K-Plan Company Match 16,073 16,073
401K Plan Expense - ~
Stock-based compensation - -
Insurance Associates 108,506 108,506
Insurance General 54,616 54,616
Postage (1,264) (1,264)
Professional Fees 37,865 37,865
Promotion & Entertainment 271 271
Licenses 14,333 14,333
Maintenance - Equip & Vehicles 34,440 34,440
Matntenance Buildings (1,295) (1,295)
Management Bonus - -
Personnel Search & Relocation - -
Rent Building & Equipment 86,248 86,248
Handling Fees 3PL - =
Wages & Salaries 802,574 802,574
‘Temporary Contract Labor 407 407
Security Expense (10,756) (10,756)
Gifts 279 279
Supplies Office & Copier 10,472 10,472
Sample Merchandise - -
‘Taxes - Payroll 114,068 114,068
Taxes - Property & Other 21,102 21,102
Telephone Expense 13,540 13,540
Training - Associates 4 -
Internal Shows - -
Trade Show & Meals 260 260
‘Travel & Meals 8,976 8,976
Utilities 22,610 22,610
Other expenses/Corp allocation - -

Total Fixed Expenses 1,824,359 1,824,359

1. The accounting systems ate not primarily designed to produce reports that are consistent with the requirements of the Office of the United States

‘Trustee. The numbers presented in this schedule are subject to change as additional information is made available. The information contained herein is
provided to fulfill the requirements of the Office of the United States Trustee. All information contained herein is unaudited and subject to future

adjustments.
2. Detail of Total Variance Expenses from MOR-2 Statement of Operations

2. Detail of Total Fixed Expenses from MOR-2 Statement of Operations
Case 19-11299-LSS Doc176 Filed 07/22/19 Page 8 of 16

 

 

Ta re SportCo Holdings, Inc. Case No. 19-11299 (LSS)
Debtor Reporting Period: June 10 - June 30, 2019
MOR-3
BALANCE SHEET (UNAUDITED) '

[ Line item Current period As of petition date |

ASSETS
Current Assets
Cash and Cash Equivalents 1,724,642 1,821,308
Trade Accounts Receivable 29,145,843 23,194,100
Allowance for Bad Debt (1,350,233) (1,335,330)
Other Receivables 1,576,679 1,669,570

Inventories 29,024,641 58,176,511
Inventory Reserve - (1,479,013)
Current Deferred Tax - -

 

 

 

 

Prepaid Expenses 1,145,761 1,437,167
Total Current Assets 61,267,333 83,484,313
Fixed Assets
Land 2,448,252 2,448,252
Building and Improvements 9,556,728 9,561,728
Vehicles 6,500 6,500
Furniture, Fixtures and Equipment 12,117,783 12,117,783
Accumulated Depreciation (10,309,224) (10,198,806)
Total Fixed Assets 13,820,039 13,935,457
Other Assets
Security Deposits 4,000 4,000
Non Current Deferred Tax 6,761,509 6,761,509
Intangibles 101,136,865 101,336,032
Amortization of Intangibles (59,684,428) (59,489,415)
Total Other Assets 48,217,947 48,612,126
TOTAL ASSETS 123,305,319 146,031,897

 

LIABILITIES AND SHAREHOLDER EQUITY
Liabilities Not Subject to Compromise

 

 

 

 

 

Cash EB/JSC - BOA Operating Accounts (70) 336,389
Cash EB - CC/ACH/Wire Pmts - 461,390
A/P Trade 563,984 395,964
Accrued Expenses 4,671,809 487,054
Total Liabilities Not Subject to Compromise 5,235,723 1,680,797
Current Liabilities Subject to Compromise
A/P Trade* 40,573,645 40,256,262
A/P American Express 110,937 110,937
A/P Sierra Consignment - -
A/P Legacy Consignment - -
A/P Misc Consignments - -
A/P Other - “
Purchases Clearing * 116,656 306,474
Accrual for Inventory in Transit” - 127,565
Accrued Expenses 1,142,323 1,142,323
Current Portion of IRB - -
Lease Obligations for Vacated Facilities 13,757 13,757
Current Portion of Notes Payable - -
Current Portion Purchase Payout ? 291,907 535,152
Current Deferred IncomeTax - -
Revolving Line of Credit 5,846,093 23,071,263
Other 0 0
Total Current Liabilities Subject to Compromise 48,095,318 65,563,733
Long Term Liabilities Subject to Compromise
Industrial Revenue Bond - -
Due To/(From) JSC - <
Lease Obligations for Vacated Facilities 28,765 28,765
Long Term Notes Payable 240,216,005 240,216,005
Noncutrent Purchase Payout 3 322,458 323,927
Long Term Purchase Payout = =
Noncurrent Deferred IncomeTax 7,170,405 7,170,405
Total Long Term Liabilities Subject to Compromise 247,737,632 247,739,101
Shareholder Equity
Capital Stock 68,448,040 68,448,040
Intercompany -
Treasury Stock 1,426,603 1,426,603
Prior Year Retained Earnings (206,311,875) (206,311,875)
Current Year Earnings (41,326,122) (32,514,503)
‘Total Shareholder Equity (477,763,354) (168,951,734)
TOTAL LIABILITIES AND SHAREHOLDER EQUITY 123,305,319 146,031,897

 

1. The accounting systems are not principally designed to produce reports that are consistent with the requirements of the Office of the United States Trustee. The numbers
presented in this schedule are subject to change as additional information is made available. The information contained herein is provided to fulfill the requirements of the Office
of the United States Trustee. All information contained herein is unaudited and subject to future adjustments.

2, Trade A/P, Purchases Clearing & Inventory Transit current period equals the sum of these account at petition date.

3, The decrease in these accounts post-petition are entries taken against the reserve, and are non-cash transactions.
Case 19-11299-LSS Doc176 Filed 07/22/19 Page 9 of 16

In re SportCo Holdings, Inc.

Case No. 19-11299 (LSS)

 

 

Debtor Reporting Period: June 10 - June 30, 2019
MOR-4
STATUS OF POST-PETITION TAXES
Pineiiem Beginning Amount withheld, Check #, EFT, or
liability accrued, and expensed Amount paid Date paid Other Ending liability
Federal
Withholding - 106,602 (106,602) 6/21/2019,07/03/2019 EFT -
FICA-Employee - 55,832 (55,832) 6/21/2019,07/03/2019 EFT -
FICA-Employer x 55,832 (55,832) 6/21/2019,07/03/2019 EFT 2
Unemployment - 114 (114) 6/21/2019,07/03/2019 EFT 2
Tncome - - -  6/21/2019,07/03/2019 ERT -
Other - - - N/A N/A -
Subtotal, federal e 218,380 (218,380)
State and Local
Withholding - 34,817 (34,817) 6/21/2019,07/03/2019 EFT -
Sales - 4,588 - N/A N/A s 4,588
Excise - 3,378 - N/A N/A 3,378
Unemployment - 1,387 (1,387) 6/21/2019,07/03/2019 EFT -
Real Property - 17,179 = N/A N/A 17,179
Personal Property - - - N/A N/A -
All other taxes - 7,946 - N/A N/A 7,946
Subtotal, state and local - 69,295 (36,204) 33,091
Taxes included in accounts payable - - - N/A N/A =
TOTAL TAXES - 287,675 (254,584) 33,091

 

 

 

 

 
Case 19-11299-LSS Doc176 Filed 07/22/19 Page 10 of 16

In re SportCo Holdings, Inc. Case No. 19-11299 (LSS)
Debtor Reporting Period: June 10 - June 30, 2019

MOR-4
ATTESTATION REGARDING STATUS OF POST-PETITION TAXES

The above-captioned Debtor hereby submits this attestation regarding the status of post-petition taxes in lieu of providing tax
returns and detailed records of paid or unpaid taxes by type and entity.

I hereby certify, to the best of my knowledge, that: (1) all federal, state and local post-petition taxes and estimates due and owing
for the period indicated above for the Debtor have been paid or that any remaining balance dues are de minimis; and (2) to the
extent that tax returns have not been submitted, an extension has been either obtained or requested from the appropriate state or
federal agency, ot the Debtor is in the process of obtaining or requesting such extension from the appropriate state or federal
agency.

(\x rhs se July 22, 2019

 

 

Signature of Authorized Individual Date

Dalton Edgecomb Chief Restructuring Officer

 

 

Printed Name of Authorized Individual Title of Authorized Individual
Case 19-11299-LSS Doc176 Filed 07/22/19 Page 11 of 16

In re SportCo Holdings, Inc. Case No. 19-11299 (LSS)
Debtor Reporting Period: June 10 - June 30, 2019

MOR-4
STATUS OF UNPAID POST-PETITION DEBTS '

 

 

 

 

 

 

 

ine teat Days Outstanding
Current 1-30 31-60 61-90 91-120 Over 120 Totals
Wages Payable - ” - - - - -
‘Taxes Payable - - - - - - -
Rent/Leases-Building 2,901 - - - - - 2,901
Rent/Leases-Equipment - - - - - - a
Supplies 71,355 - - - - - 71,355
Freight 167,315 - - - - - 167,315
Services 34,058 - = - - - 34,058
Professional Fees 82,893 - - - - - 82,893
Amounts Due to Insiders - - - - - - -
EE Expense 655 - - - - ~ 655
Other - - - - - - -
Other - - - - - - -
Totals 359,176 - “ - : : 359,176

 

1. All information contained herein is unaudited and subject to future adjustments. Certain debts payable pursuant to orders of the Bankruptcy Court are reflected as current for the
purposes of this schedule. All post-petition debts other than aged accounts payable are assumed to be current.

 
 

In re SportCo Holdings, Inc. CaSe 19-11299-LSS Doc176 Filed 07/22/19 Page 12 of 16

MOR-5
ACCOUNTS RECEIVABLE RECONCILIATION AND AGING ©

Case No. 19-11299 (LSS)
Debtor Reporting Period: June 10 - June 30, 2019

 

 

 

 

 

 

 

sana Days Outstanding
ee Current 1-30 31-60 61-90 Over 90 Totals

Trade Accounts Receivable 20,945,209 4,167,479 1,273,128 1,006,964 1,543,999 28,936,779
Less: Allowance for doubtful accounts - - - (251,854) (1,007,418) (1,259,272)

Totals 20,945,209 4,167,479 1,273,128 755,109 536,581 27,677,507
75.7% 15.1% 4.6% 2.7% 1.9% 100.0%

Reconciliation of accounts receivable, trade

Accounts receivable, net at the beginning of the reporting period 21,949,731

Add: Amounts billed during the period 25,205,645
Subtract: Amounts collected during the period (19,276,348)
Subtract: Change in allowance for doubtful accounts (14,902)
Adjustment: Deferred revenue applied to accounts recetvable 0
Other adjustments (68,515)
Accounts receivable at the end of the reporting period - Per Balance Sheet 27,795,610

* All information contained herein is unaudited and subject to future adjustments.

 
Case 19-11299-LSS Doc176 Filed 07/22/19 Page 13 of 16

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

In re SportCo Holdings, Inc. Case No. 19-11299 (LSS)
Debtor Reporting Period: June 10 - June 30, 2019
MOR-5a
DEBTOR QUESTIONNAIRE
| # Line item Yes No |
1 Have any assets been sold or transferred outside the normal course of business this reporting v
period? If yes, provide an explanation below. ee - _
2° Have any funds been disbursed from any account other than a a debtor i in possession account 7 v
this reporting period? If yes, provide an explanation below. ee
3 __- Have all post-petition tax returns been timely filed? If no, provide an explanation below,
4 Are workers' compensation, general liability and other necessary insurance coverages in effect? v
If no, provide an explanation below. -
5 Has any bank account been opened dessicws ‘ise reporting period? If yes, provide documentation a
identifying the opened account(s). If an investment account has been opened, provide the
tequired documentation pursuant to the Delaware Local Rule 4001-3.
Explanations _
1 None requited
2 ~~ None required - -
3 Not Applicable at this time oo
4 None required _ - a a
5 None required _

 
Case 19-11299-LSS Doc176 Filed 07/22/19 Page 14 of 16

United Sporting Companies

 

 

 

 

 

Current Current Last

Actual % Plan % Year %
$25,289,532 100.33% - - $34,636,320 101.33%
($91,491) (0.36%) - “ ($422,748) (1.24%)
$7,604 0.03% - 2 ($32,092) (0.09%)
$25,205,645 100.00% $0 0.00% $34,181,480 100.00%
$29,501,338 117.04% - - $32,188,322 94.17%
($434,909) (1.73%) ($748,435) Z ($241,376) (0.71%)
$29,066,429 115.32% ($748,435) 0.00% $31,946,947 93.46%
($3,860,785) (15.32%) $748,435 0.00% $2,234,533 6.54%
$40,000 0.16% $91,689 - $116,083 0.34%
: - ($427,677) 5 ($341,287) (1.00%)
- 7 = = ($6,841) (0.02%)
($1,479,013) (5.87%) - “ $276 0.00%
($1,439,012) (5.71%) ($335,988) 0.00% ($231,769) (0.68%)
$27,627,417 109.61% ($1,084,423) 0.00% $31,715,178 92.78%
($2,421,772) (9.61%) $1,084,423 0.00% $2,466,302 7.22%
$1,308,290 5.19% $1,028,335 - $1,162,787 3.40%
$1,824,359 7.24% $2,750,487 - $3,689,401 10.79%
$3,132,649 12.43% $3,778,822 0.00% $4,852,188 14.20%
($5,554,422) (22.04%) ($2,694,399) 0.00% ($2,385,885) (6.98%)
$10,278 0.04% - - $62,188 0.18%
($66,719) (0.26%) ($42,768) - ($66,973) (0.20%)
$3,313,639 13.15% $3,661,100 - $3,173,131 9.28%
$3,257,198 12.92% $3,618,332 0.00% $3,168,346 9.27%
($8,811,620) (34.96%) ($6,312,731) 0.00% ($5,554,231) (16.25%)
- - “ . ($1,085,000) (3.17%)
($8,811,620) (34.96%) ($6,312,731) 0.00% ($4,469,231) (13.08%)

 

All Departments
June 2019

7/18/2019 1:24:45 PM.

Gross Merchandise Sales
Sales Return & Allowance
Net Discounts
Net Sales

Cost of Product Sold
Purchase Discounts
Cost of Sales (User)
Operating Gross Margin
Freight In
Rebates
Discounts Anticipation
Reserve changes/Other costs
Total Other Costs
Total Cost of Goods Sold
Net Gross Margin
Total Variable Expense
Total Fixed Expense
Total Expense
Operating Income
Other Income/Expense
Interest Income
Interest Expense
Total Other Expenses
Net Profit Before Taxes

Income Tax Expense

Net Profit After Taxes

 

 

 

 

 

YTD YTD YTD

Actual % Plan % Last Year %
$163,605,410 101.45% - - $327,328,998 101.18%
($2,171,909) (1.35%) - “ ($3,501,511) (1.08%)
($169,159) (0.10%) - ($324,810) (0.10%)
$161,264,342 100.00% $0 0.00%  $323,502,676 100.00%
$158,792,161 98.47% - - $298,784,275 92.36%
($2,196,442) (1.36%) ($6,480,870) - ($4,348,608) (1.34%)
$156,595,719 97.10% ($6,480,870) 0.00% $294,435,667 91.01%
$4,668,623 2.90% $6,480,870 0.00% $29,067,009 8.99%
$299,603 0.19% $793,955 - $636,860 0.20%
($772,416) (0.48%) ($3,703,354) - ($2,742,107) (0.85%)
$5,360 0.00% - “ ($117,420) (0.04%)
($4,057,438) (2.52%) - % ($78,905) (0.02%)
($4,524,892) (2.81%) ($2,909,399) 0.00% ($2,301,573) (0.71%)
$152,070,827 94.30% (89,590,269) 0.00%  —$292,134,094 90.30%
$9,193,515 5.70% $9,390,269 0.00% $31,368,582 9.70%
$5,968,595 3.70% $8,213,860 - $8,088,606 2.50%
$23,031,929 14.28% $18,331,818 - $19,722,405 6.10%
$29,000,524 17.98% $26,545,678 0.00% $27,811,011 8.60%
($19,807,009) (12.28%) ($17,155,409) 0.00% $3,557,571 1.10%
$313,435 0.19% - - $372,078 0.12%
($283,462) (0.18%) ($370,336) 7 ($246,668) (0.08%)
$21,537,146 13.36% $21,740,600 - $18,623,083 5.76%
$21,567,119 13.37% $21,370,264 0.00% $18,748,492 5.80%
($41,374,128) (25.66%) ($38,525,673) 0.00% ($15,190,921) (4.70%)
($48,005) (0.03%) % 3 ($3,104,213) (0.96%)
($41,326,123) (25.63%) ($38,525,673) 0.00% —_ ($12,086,708) (3.74%)

 

 
Case 19-11299-LSS

Doc 176 Filed 07/22/19 Page 15 of 16

 

 

 

 

 

 

($5,093,574) (20.21%) ($2,270,910) 0.00% ($1,892,356) (5.54%) EBITDA
United Sporting Companies
Budget
Current Current Last
Actual % Plan % Year %
$25,139 0.10% $42,799 $34,129 0.10% Bad Debt Expense
- - - ($9) (0.00%) Spiff
$999,369 3.96% $361,476 $303,130 0.89% Sales Bonus & Commissions
$105 0.00% - $288 0.00% Royalty Expense
$17,848 0.07% $89,464 $69,972 0.20% Tools & Distribution Supplies
($99,325) (0.39%) ($235,223) ($260,238) (0.76%) Shipping Charges
- - - - - Small Order Charges
- - - - - Truck Depreciation
$365,154 1.45% $769,819 $1,015,515 2.97% Freight Out
$1,308,290 5.19% $1,028,335 $1,162,787 3.40% Total Variable Expenses
- - $25,000 $4,000 0.01% Audit Fees
$11,161 0.04% $13,091 $12,114 0.04% Web Site Exp
$1,829 0.01% $6,648 $7,071 0.02% Associations & Subscriptions
$75 0.00% $5,261 $2,124 0.01% Catalog Flyers & Advertising
- - - - - Directors Expenses
- - - - - Stock Related Costs
$75,449 0.30% $18,640 $29,843 0.09% Consulting Fees
($1,890) (0.01%) $1,000 - - Collection Expense
- - $100 - - Contributions
$404,407 1.60% $380,721 $488,744 1.43% Depreciation and Amortization
$16,073 0.06% $38,133 $36,515 0.11%  401K-Plan Company Match
- - - - - 401K Plan Expense
- - - - - Stock-based compensation
$108,506 0.43% $203,439 $222,798 0.65% Insurance Associates
$54,616 0.22% $85,000 $104,046 0.30% Insurance General
($1,264) (0.01%) $4,055 $2,771 0.01% Postage
$37,865 0.15% $62,120 $163,081 0.48% Professional Fees
$271 0.00% $2,514 $21,872 0.06% Promotion & Entertainment
$14,333 0.06% $21,132 $19,668 0.06% Licenses
$34,440 0.14% $244,769 $114,973 0.34% Maintenance - Equip & Vehicle
($1,295) (0.01%) $23,401 $27,041 0.08% Maintenance Buildings
- - - e - Management Bonus
- - $4,267 - - Personnel Search & Relocation
$86,248 0.34% $27,385 $155,596 0.46% Rent Building & Equipment

($16,375,598) (10.15%) ($14,500,747) 0.00% $6,387,170 1.97%
YTD YTD YTD
Actual % Plan % Last Year %
$157,324 0.10% $370,607 - $323,707 0.10%
- - $5,000 - $4,584 0.00%
$2,800,624 1.74% $3,141,267 - $2,631,792 0.81%
$1,070 0.00% - - $736 0.00%
$285,560 0.18% $645,839 - $483,067 0.15%
($955,600) (0.59%) ($2,036,844) - ($1,817,247) (0.56%)
$3,679,617 2.28% $6,087,991 - $6,461,968 2.00%
$5,968,595 3.70% $8,213,860 - $8,088,606 2.50%
$6,860 0.00% $150,000 - $135,500 0.04%
$77,970 0.05% $78,546 - $76,710 0.02%
$27,320 0.02% $45,678 - $58,561 0.02%
$10,791 0.01% $27,566 - $33,700 0.01%
$1,856,097 1.15% $112,740 - $114,259 0.04%
$7,017 0.00% $6,000 - $921 0.00%
$25 0.00% $625 - $1,172 0.00%
$3,461,384 2.15% $2,284,326 - $2,955,009  0,91%
$219,119 0.14% $280,092 - $256,039 0.08%
$500 0.00% $1,000 : - -
$1,120,516 0.69% $1,303,528 “ $1,165,802 0.36%
$464,056 0.29% $560,000 - $646,004 0.20%
$20,307 0.01% $25,300 - $24,285 0.01%
$3,383,444 2.10% $412,260 - $1,379,083 0.43%
$7,092 0.00% $36,124 - $49,798 0.02%
$126,608 0.08% $115,467 - $113,527 0.04%
$980,627 0.61% $1,476,814 $570,539 0.18%
$178,583 0.11% $168,814 : $183,614 0.06%
- - - - $117,639 0.04%
- - $25,602 - - -
$521,866 0.32% $354,082 - $957,327 0.30%
 

 

Case 19-11299-LSS Doc176 Filed 07/22/19 Page 16 of 16

 

 

 

 

 

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%YOU'9 SOP‘TZL‘GIS SIS TES SIS  %STFI GZGTEO'ETS
99T69ES$ Z0T96E$ %810 966°067$
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(619‘L01$) (ZS9°€01$) %000 = P68°7$
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ELL 86E$ 7OV‘06E$ YEO  G60E96P$
IPL'8S7$ 009 TLZ$ %IT0 9OL‘SLI$
Z0S‘916$ 7981 66$ %sr0  OOT‘O8LS
seg - - -
LEL‘v01$ ZE9'S8$ %S00 LYSBL$
TEOTIS OST‘OIS$ %I00 Pp6L‘EI$
OLY OTTS$ ZO EvT$ HELO  9EH"'7OTS
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ELETEO'SS$

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[JO1AR  - SOXB],
asipueyoIsyy oydures
JoIdod 7% soo seryddng
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%100 Orcs C8L7$ = :
%LVO OLS LSS 07z0°S9$ %S00 OPs‘EI$
%ITO O6TLES 007 SPs %800 ZOL‘IZ$
~IEO SBS ITI 6SP'SII$ YO 90‘PII$
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